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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF CONNECTICUT

M.A. EDWARDS,                               :     Civil Action No. 3:11-cv-01537 (SRU)
      Plaintiff,                            :
                                            :
       v.                                   :
                                            :
COMMISSIONER ARNONE, et al.,                :
    Defendants.                             :     September 21, 2021

                           STIPULATION OF DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff

and defendants, through counsel, and by stipulation do hereby agree to dismissal of the

above-referenced case, with prejudice. Each party shall pay its own costs and fees.



The Plaintiff                                        The Defendants

By:                                                  By:

                                                     WILLIAM TONG
                                                     ATTORNEY GENERAL


 __________/s/_______________                   __________/s/_______________
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                             CERTIFICATE OF SERVICE
This is to certify that on this 21st day of September, 2021 the foregoing Stipulation of
Dismissal was filed electronically. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system. Parties may access this filing through
the Court’s system. As to any party who does not receive notice by electronic filing, a
copy will be mailed by first class mail, postage prepaid.

A copy was mailed by First Class U.S. Mail, postage prepaid, to

Michael Edwards
Inmate #163867
MacDougall Correctional Institute
1153 East Street South
Suffield, CT 06078

                                                       __________/s/_______________
                                                       Christopher M. Licari
                                                       ct11654




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